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 2             IN THE UNITED STATES DISTRICT COURT FOR THE

 3                       EASTERN DISTRICT OF CALIFORNIA

 4

 5   UNITED STATES OF AMERICA,

 6                  Plaintiff,

 7             v.                           CR. NO. S-07-0025 EJG

 8   JASON TUAN HOANG, et al.,

 9                  Defendants.
                                    /
10
     UNITED STATES OF AMERICA,
11                                          CR. NO. S-08-0581 JAM
                    Plaintiff,
12
               v.
13                                          RELATED CASE ORDER
     JASON TUAN HOANG,
14
                    Defendant.
15   _____________________________/

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          After examination of the above cases, and pursuant to
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     agreement of the parties, the court has determined that the
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     above-entitled actions are related within the meaning of Eastern
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     District Local Rule 83-123.    The actions involve the same
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     defendant and relation will result in a global resolution of this
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     defendant in both cases.    Accordingly, the assignment of the
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     matters to the same judge is likely to effect a substantial
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     saving of judicial effort and is also likely to be convenient for
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     the parties.
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 1          The parties should be aware that relating the cases under

 2   Local Rule 83-123 merely has the result that both actions are

 3   assigned to the same judge; no consolidation of the actions is

 4   effected.    Under the regular practice of this court related cases

 5   are generally assigned to the judge to whom the first filed

 6   action was assigned.

 7          IT IS THEREFORE ORDERED that the action entitled Cr. No. S-

 8   08-0581 JAM is hereby reassigned to Judge Edward J. Garcia for

 9   all further proceedings.      Henceforth, the caption on documents

10   filed in the reassigned case shall be shown as Cr. No. S-08-0581

11   EJG.

12          IT IS FURTHER ORDERED that a change of plea hearing in Cr.

13   No. S-08-0581 EJG will be held at 10:00 a.m., February 4, 2009,

14   in Courtroom No. 8 of the above-entitled court.

15          IT IS FURTHER ORDERED that the Clerk of the Court make

16   appropriate adjustment in the assignment of criminal cases to

17   compensate for this reassignment.

18          IT IS SO ORDERED.

19          January 22, 2008            /s/ Edward J. Garcia
                                        EDWARD J. GARCIA, JUDGE
20                                      UNITED STATES DISTRICT COURT

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